                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                 AT CHATTANOOGA

MCKEE FOODS CORPORATION,                 )
                                         )
        Plaintiff,                       )
v.                                       )
                                         )    CASE NO. 1:21-CV-00279
BFP INC. d/b/a THRIFTY MED PLUS          )
PHARMACY and CARTER                      )    JUDGE ATCHLEY
LAWRENCE in his Official Capacity as     )    MAGISTRATE JUDGE DUMITRU
COMMISSIONER OF THE                      )
TENNESSEE DEPARTMENT OF                  )
COMMERCE AND INSURANCE,                  )
                                         )
        Defendants.                      )
                                         )


              PLAINTIFF’S BRIEF IN OPPOSITION TO COMMISSIONER
                LAWRENCE’S MOTION FOR SUMMARY JUDGMENT


William H. Pickering (BPR #006883)       Mark E. Schmidtke, Admitted Pro Hac Vice
Catherine S. Dorvil (BPR #034060)        OGLETREE, DEAKINS, NASH, SMOAK
CHAMBLISS, BAHNER & STOPHEL, P.C.        & STEWART, P.C.
Liberty Tower – Suite 1700               56 S. Washington Street, Suite 302
605 Chestnut Street                      Valparaiso, IN 46383
Chattanooga, TN 37450                    Telephone: (219) 242-8668
Telephone: (423) 756-3000                Email: Mark.schmidtke@ogletree.com
Email: wpickering@chamblisslaw.com
       cdorvil@chamblisslaw.com

Attorneys for Plaintiff                  Attorneys for Plaintiff




     Case 1:21-cv-00279-CEA-MJD    Document 135      Filed 01/21/25   Page 1 of 27
                                  PageID #: 2020
                                                  TABLE OF CONTENTS


I.        INTRODUCTION .............................................................................................................. 1

II.       ARGUMENT ...................................................................................................................... 2

          A.        McKee Has Standing to Bring this Action Against the Commissioner. ................. 2

                    1.         Principles of Standing ................................................................................. 2
                    2.         The Tennessee statutes are causing actual and ongoing harm to McKee by
                               interfering with McKee’s right to design, structure and administer its self-
                               funded ERISA Health Plan. ........................................................................ 4
                    3.         There is overwhelming evidence of the Commissioner’s intent to enforce
                               the Tennessee statutes against ERISA plans like McKee’s. ........................ 6

          B.        McKee Has Stated a Claim Upon Which Relief Can Be Granted. ......................... 9

                    1.         McKee’s Claim Against Thrifty Med ........................................................11
                    2.         McKee’s Claim Against the Commissioner .............................................. 14

          C.        McKee Is Entitled to Declaratory Relief. There Is No Reason for this Court to
                    Decline to Exercise Its Jurisdiction....................................................................... 14
          D.        ERISA Preempts the Tennessee Statutes. ............................................................. 16

                    1.         The Tennessee laws have a connection with ERISA plans. ...................... 17

                               a.         The Commissioner misstates the law. ........................................... 17
                               b.         Rutledge does not support the Commissioner’s defense of the
                                          Tennessee statutes. ........................................................................ 19

                    2.         The Tennessee laws explicitly reference ERISA plans. ............................ 22

III.      CONCLUSION ................................................................................................................. 25




                                                              i
       Case 1:21-cv-00279-CEA-MJD                        Document 135                 Filed 01/21/25              Page 2 of 27
                                                        PageID #: 2021
                                    I.      INTRODUCTION

         McKee Foods Corporation and the Commissioner of the Tennessee Department of

Commerce and Insurance (the “Department”) have filed cross motions for summary judgment,

both contending that there are no genuine issues of material fact and that this Court should enter

a judgment on the legal issues presented. Again urging the Court not to address ERISA’s

preemption of the Tennessee laws McKee is challenging, the Commissioner rehashes standing

arguments this Court twice rejected and resurrects the State of Tennessee’s previous claims that

McKee has no right to sue under ERISA and that the Court should decline to exercise the

jurisdiction it has under the Declaratory Judgment Act.

         After nearly three years of involvement in this case, the State, now speaking through the

Commissioner, finally addresses the issue of ERISA preemption that has been central to this case

since its inception. Faced with the unenviable task of arguing that laws specifically naming and

targeting ERISA plans really don’t relate to ERISA plans, the Commissioner misapplies the

Supreme Court’s ruling in Rutledge1 on a dissimilar Arkansas law, disregards binding Sixth

Circuit precedent, and surprisingly, misstates the findings of courts in other cases.

         Dissatisfied with the enforcement of existing law against ERISA plans, leadership in the

Tennessee Legislature, in consultation with the Commissioner, made the unwise decision to

specifically identify ERISA plans as entities subject to any willing pharmacy, “anti-steering” and

other provisions regulating the plans’ design, structure, and terms and conditions. In its

misguided attempt to go after ERISA plans like McKee’s, the Legislature effectively assured that

the laws would be preempted.




1
    Rutledge v. Pharmaceutical Care Management Ass’n, 592 U.S. 80 (2020).


                                               1
     Case 1:21-cv-00279-CEA-MJD           Document 135         Filed 01/21/25      Page 3 of 27
                                         PageID #: 2022
       Commissioner Lawrence testified that he and the Department would enforce the laws

against ERISA plans until a court ordered them to stop. 2 McKee respectfully submits that it’s

time for that order to be given.

                                       II.      ARGUMENT

       A.      McKee Has Standing to Bring this Action Against the Commissioner.

       This Court has twice rejected the Commissioner’s argument 3 that McKee lacks Article III

standing to challenge Tennessee statutes that infringe on McKee’s right to design and administer

its ERISA-governed Health Plan.4 The Commissioner acknowledges this Court’s previous

holdings but argues that McKee now has a higher burden in responding to a motion for summary

judgment and must provide evidence to support standing. 5 The Commissioner, however,

disregards the fact that McKee already provided compelling, undisputed factual evidence

supporting this Court’s previous holdings. And as the Commissioner is well aware, the evidence

supporting McKee’s standing has been strengthened further by the deposition testimony of the

Commissioner himself and that of senior Department officials.

               1.      Principles of Standing

       The requirement of standing is derived from the understanding that the existence of a

case or controversy requires that the plaintiff have a sufficient stake in the outcome of the



2
  Lawrence Depo. at 172. (Excerpts and exhibits from Mr. Lawrence’s deposition are included in
Document 119-4, Exhibit D to McKee’s Brief in Support of its Motion for Summary Judgment).
3
  Memorandum of Law in Support of Defendant Carter Lawrence’s Motion for Summary
Judgment (Doc. 123) (“Commissioner’s Memorandum”) at 8-11.
4
  See Order granting McKee’s Motion for Leave to Amend Complaint (Doc. 82) at 13 (noting the
State’s intent to enforce the statutes against ERISA plans such as McKee’s); Memorandum
Opinion and Order denying Commissioner’s Motion to Dismiss McKee’s Amended Complaint
(Doc. 115) at 5-6, 10 (distinguishing Mulroy and noting Commissioner’s stated intent “to enforce
the specific laws that [McKee] is challenging against the specific kind of benefits plan it
operates”).
5
  Commissioner’s Memorandum at 8-9.


                                               2
    Case 1:21-cv-00279-CEA-MJD            Document 135         Filed 01/21/25      Page 4 of 27
                                         PageID #: 2023
litigation to ensure the “concrete adverseness which sharpens the presentation of issues” before

the court.6 Standing requires that the plaintiff suffer an “injury in fact” which the courts define

as “an invasion of a legally protected interest which is (a) concrete and particularized, and (b)

‘actual or imminent, not “conjectural” or “hypothetical.”” 7 The likelihood of enforcement or

“prosecution” is not a separate requirement for standing (as the Commissioner suggests) 8 and is

relevant only if the plaintiff has not sustained an actual or ongoing injury. 9

       The requirement of standing in a pre-enforcement challenge to a statute was recently

addressed in Tennessee Educ. Ass’n v. Reynolds,10 in which the Court rejected the Tennessee

Commissioner of Education’s claim that plaintiffs lacked standing to challenge a state law

purporting to outlaw the inclusion of certain prohibited concepts in school curricula and

materials.11 The Reynolds court cited a long line of case law recognizing that standing could be

based on either a substantial probability or a credible threat of enforcement. 12 The Court further

noted that under Supreme Court precedent, a plaintiff may “demonstrate an injury-in-fact, for

standing purposes, by showing that a challenged law forced him to materially alter his




6
  Crawford v. United States Dep’t of Treasury, 868 F.3d 438, 452 (6th Cir. 2017) (quoting Baker
v. Carr, 369 U.S. 186, 204 (1962)).
7
  Id. (quoting Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992)) (citations omitted)
8
  Commissioner’s Memorandum at 9.
9
  As noted in Crawford, standing can be based on a threatened, rather than an actual, injury if
“the threatened injury is real, immediate, and direct.” Crawford, 868 F.3d at 454 (quoting Davis
v. FEC, 554 U.S. 724, 734 (2008)).
10
   732 F. Supp. 3d 783, 802 (M.D. Tenn. 2024).
11
   See Tenn. Code Ann. § 49-6-1019.
12
   Reynolds, 732 F. Supp 3d at 802, citing as examples Susan B. Anthony List v. Driehaus, 573
U.S. 149, 159 (2014) (quoting Babbitt v. United Farm Workers Nat. Union, 442 U.S. 289, 298
(1979); Vill. of Arlington Heights v. Metro. Hous. Dev. Corp., 429 U.S. 252, 264 (1977) (quoting
Warth v. Seldin, 422 U.S. 490, 504 (1975)).


                                                3
    Case 1:21-cv-00279-CEA-MJD             Document 135         Filed 01/21/25     Page 5 of 27
                                          PageID #: 2024
behavior.”13 The Reynolds court went on to reject the defendants’ suggestion that the “so-called

‘McKay factors’” weighed against standing, commenting that the Sixth Circuit had been clear

that the McKay factors “are not exhaustive, nor must each be established.” 14

               2.      The Tennessee statutes are causing actual and ongoing harm to McKee by
                       interfering with McKee’s right to design, structure and administer its self-
                       funded ERISA Health Plan.

        As detailed in McKee’s Brief in Support of its Motion for Summary Judgment (Doc. 119)

(“McKee Summary Judgment Brief”), McKee has the right under ERISA to design, structure,

and administer its self-funded Health Plan in a manner that is in the best interests of the plan and

its participants.15 On an ongoing basis, the challenged Tennessee statutes are interfering with

those rights – thus causing McKee injury – by imposing substantive requirements on the design,

structure, terms, conditions, and administration of the McKee plan.

        Specifically, Tennessee Code Annotated §§ 56-7-3120, 56-7-3121, and 56-7-2359

interfere with McKee’s right to determine benefits provided under its plan and the providers of

those benefits.16 Examples include requirements regarding the pharmacies that ERISA plans

must include in their provider networks and the co-pays and other contributions for which plan

participants are responsible.17 These matters must be governed by the McKee Health Plan


13
   Id. at 803 (citing Clements v. Fashing, 457 U.S. 957, 962 (1982)). See Christian Healthcare
Centers, Inc. v. Nessel, 117 F.4th 826, 852–53 (6th Cir. 2024) (conduct in which plaintiff would
otherwise have engaged prohibited by challenged law).
14
   Id. at 803-04 (quoting Online Merchants Guild v. Cameron, 995 F.3d 540, 550 (6th Cir. 2021)).
15
   McKee Summary Judgment Brief at 16-21. See Black & Decker Disability Plan v. Nord, 538
U.S. 822, 833 (2003) (“[E]mployers have large leeway to design disability and other welfare
plans as they see fit.”).
16
   See Kentucky Ass’n of Health Plans, Inc. v. Nichols, 227 F.3d 352, 363 (6th Cir. 2000) aff’d
sub nom. Kentucky Ass’n of Health Plans, Inc. v. Miller, 538 U.S. 329 (2003) (any willing
provider requirements effectively mandate employee benefit plan structures); Pharmaceutical
Care Mgmt. Ass’n v. Mulready, 78 F.4th 1183, 1198 (10th Cir. 2023) (network restrictions require
the structuring of benefit plans in particular ways and infringe on employers’ rights to structure
their plans as they choose).
17
   See Tenn. Code Ann. §§ 56-7-3120 and 56-7-3121.


                                               4
     Case 1:21-cv-00279-CEA-MJD           Document 135         Filed 01/21/25      Page 6 of 27
                                         PageID #: 2025
document, not by state laws designed to benefit pharmacies. 18 Also, to the extent the state

statutes purport to prevent McKee from excluding from its network providers that engage in

conduct that harms the plan and plan participants, they inhibit McKee from carrying out its

fiduciary responsibilities.19 Cognizant of these responsibilities and because of the statutory

mandate that McKee include “any willing pharmacy” in the plan network, McKee has modified

its Plan (i.e., “has altered its behavior”) and no longer has preferred pharmacies in Tennessee. 20

        Although McKee’s dispute with Thrifty Med illustrates the manner in which the

Tennessee statutes infringe on the rights of a plan sponsor and fiduciary, the viability of McKee’s

action against the Commissioner does not depend on the existence of the Thrifty Med dispute.

Rather, McKee has standing to challenge the Tennessee laws because the statutes, on their face,

purport to regulate the design, structure and administration of ERISA plans like McKee’s.

Indeed, as the evidence shows, Public Chapter 1070 was adopted for that specific purpose, i.e., to

regulate ERISA plans.21

        Simply put, as a directly regulated party, McKee’s harm flows from being subject to the

laws,22 particularly since ERISA plans like McKee’s are most likely to be targets of

enforcement.23 The laws invade McKee’s federally protected interests. Because McKee is




18
   See Health Plan Prescription Drug Program (Doc. 118-1, PageID # 1588 through 1610).
19
   See First Amended Complaint (Doc. 83) ¶¶ 31, 56, 59; 29 U.S.C. §1104(a)(1)(A) and (D);
Brief Amicus Curiae of the ERISA Industry Committee (Doc. 133) at 12-13.
20
   Declaration of Justin Jolls (Doc. 118-1), ¶ 11 and Ex. A, Attachment B (various references to
Preferred Pharmacy Network available to employees who live and work outside Tennessee).
21
   See McKee Summary Judgment Brief at 10-12.
22
   See Carman v. Yellen, 112 F.4th 386, 407 (6th Cir. 2024).
23
   See Welty v. Dunaway, No. 3:24-CV-00768, 2024 WL 4712759, at *12 (M.D. Tenn. Sept. 20,
2024).


                                               5
     Case 1:21-cv-00279-CEA-MJD           Document 135         Filed 01/21/25      Page 7 of 27
                                         PageID #: 2026
impacted by the Tennessee statutes, injury is presumed, and McKee has standing to challenge the

laws.24

                 3.     There is overwhelming evidence of the Commissioner’s intent to enforce
                        the Tennessee statutes against ERISA plans like McKee’s.

          The Commissioner argues that McKee has not and cannot provide sufficient evidence of

the Department’s intent to enforce the Tennessee statutes. 25 At the outset, as the Commissioner

has recognized, it is his burden as the moving party to present evidence to support a motion for

summary judgment, showing the absence of any genuine factual dispute. 26 Only then does the

burden shift to McKee as the nonmoving party.

          The only “evidence” offered by the Commissioner in support of his Motion for Summary

Judgment is the declaration of Jud Jones, the Department’s Director of PBM Compliance. 27 Mr.

Jones’ declaration focuses primarily on the three administrative complaints that Thrifty Med filed

against McKee and its PBM in 2021, noting that the complaints were closed with no action taken

and that Thrifty Med has not filed any additional complaints involving McKee or its PBM. 28 Mr.

Jones goes on to state that the Department has taken no formal action against McKee or its PBM

and that to the best of his knowledge, the Department has not indicated an imminent intent to

bring an enforcement action against McKee. 29 Mr. Jones concludes with a statement that the

Department intends to enforce Tennessee’s laws concerning PBMs as written but “without any


24
   See S&M Brands, Inc. v. Summers, 393 F. Supp. 2d 604, 617-18 (M.D. Tenn. 2005) (standing
established where plaintiff alleged it was directly affected by enforcement of the statutes at
issue); Carman, 112 F.4th at 407 (“When there is no doubt that the plaintiff is the direct object of
the law, regulation, or government action, ‘there is ordinarily little question that the action or
inaction has caused him injury, and that a judgement preventing or requiring the action will
redress it.’” (citations omitted)).
25
   Commissioner’s Memorandum at 10-11.
26
   Id. at 7.
27
   Declaration of Jud Jones (Doc. 122-1), ¶ 2.
28
   Id. ¶¶ 4-8.
29
   Id. ¶¶ 9-10.


                                               6
     Case 1:21-cv-00279-CEA-MJD           Document 135        Filed 01/21/25      Page 8 of 27
                                         PageID #: 2027
particular intention to a particular type of ‘covered entity’ as that term is defined in [Tenn. Code

Ann. § 56-7-3102(1)].”30

        Tellingly, although Mr. Jones claims to be unaware of any expression by the Department

of an imminent intent to bring an enforcement action against McKee, neither he nor any other

representative of the Department has disavowed an intent to enforce the challenged laws against

ERISA plans like McKee’s. This fact was central to this Court’s previous holding, supported by

significant evidence already in the record, that McKee has standing to sue the Commissioner. 31

        This Court already rejected the Commissioner’s arguments. And the application of a

different standard for the Court’s consideration of a motion for summary judgment (as opposed

to the Commissioner’s previous motion to dismiss) does not change anything, because McKee

already introduced significant, material evidence supporting the Court’s finding that the

Commissioner intends to enforce the laws specifically against ERISA plans like McKee’s. The

evidence is set forth in McKee’s Reply Brief in Support of its Motion for Leave to Amend

Complaint (Doc. 81),32 in McKee’s Brief in Opposition to the State Defendants’ Motion to

Dismiss (Doc. 101),33 and in the exhibits to those filings.34

        Among other things, in connection with rulemaking proceedings conducted by the

Department, McKee’s counsel submitted a comment letter dated February 7, 2024 (Doc. 81-1),

urging the Department to clarify that its proposed rules would not apply to self-funded ERISA

plans like McKee’s.35 Other stakeholders, including the Pharmaceutical Care Management




30
   Id. ¶ 11.
31
   Memorandum Opinion and Order (Doc. 115) at 10.
32
   Doc. 81 at 4-7, 17-19.
33
   Doc. 101 at 8-10, 18-24.
34
   Docs. 81-1, 81-2, 81-3 and 81-4.
35
   See Doc. 81 at 3-6.


                                               7
     Case 1:21-cv-00279-CEA-MJD           Document 135          Filed 01/21/25     Page 9 of 27
                                         PageID #: 2028
Association (“PCMA”), likewise objected to the Department’s enforcement of the Tennessee

PBM laws against ERISA plans and their sponsors. 36 In his response to PCMA, Commissioner

Lawrence stated unequivocally that he intended to enforce the Tennessee laws and regulations

against ERISA plans.37 The Department’s intent to enforce the statutes in question against

ERISA plans such as McKee’s was again confirmed, explicitly, in the Department’s written

comments which accompanied its final rules. 38 The Department certainly has “warned” McKee

and other stakeholders that the Tennessee statutes will be enforced against their ERISA plans. 39

        Moreover, Mr. Jones’ claim that the Department’s intent to enforce Tennessee’s PBM

laws is “without any particular intention to a particular type of ‘covered entity’” 40 is belied by his

own deposition testimony, that of other Department representatives, and evidence that McKee

introduced in support of its recently filed Motion for Summary Judgment. Mr. Jones

acknowledged that the laws at issue specifically targeted ERISA plans and that the

Commissioner and the Department intended to enforce the laws against ERISA plans, despite the

protests and objections of McKee and other stakeholders. 41 Commissioner Lawrence confirmed

that, despite concerns of ERISA preemption raised during the public comment period, it was his

“decision to move forward with the rules, which would include enforcement actions against self-



36
   See PCMA letter to Commissioner Carter Lawrence dated February 1, 2024 (Doc. 81-2).
37
   See Letter from Carter Lawrence to Peter Fjelstad of PCMA dated February 21, 2024 (Doc.
81-3).
38
   See Rulemaking Hearing Rule(s) Filing Form (Doc. 81-4), p. 18 (PageID # 1028), Comment
29.
39
   Cf. McKay v. Federspiel, 823 F.3d 862, 869 (6th Cir. 2016). In fact, just a week after Public
Chapter 569 became effective, Commissioner Lawrence issued Department Bulletin 21-01 (July
8, 2021), stating that it was the legislature’s intent for ERISA plans to be covered by the law and
warning that “[t]he Department will enforce Pub. Ch. 569 accordingly.” Department Bulletin 21-
01 (Doc. 119-3), second page.
40
   Jones Dec. ¶ 11.
41
   Jones Depo. at 141-42. Pertinent excerpts from Mr. Jones’ deposition are included in
Document 119-6 (Exhibit F to McKee’s Summary Judgment Brief).


                                                8
     Case 1:21-cv-00279-CEA-MJD           Document 135         Filed 01/21/25       Page 10 of 27
                                          PageID #: 2029
funded ERISA plans . . .”42 Indeed, a concern about lack of enforcement of the PBM laws in the

face of claims of ERISA preemption was the primary impetus for the passage of Public Chapter

1070.43 The facts introduced by McKee show not only that ERISA plans were targeted by the

Legislature and the Department but also that this lawsuit by McKee, alleging ERISA preemption,

was a specific concern that “underscore[d] why we must have language to enforce the PBM

law.”44

          In summary, this Court was undoubtedly correct that McKee had standing because of the

Department’s stated intent to enforce the specific laws at issue against the specific kind of plan

administered by McKee. And the additional evidence McKee has introduced (deposition

testimony and exhibits) provides further compelling support for McKee’s Article III standing.

          B.     McKee Has Stated a Claim Upon Which Relief Can Be Granted.

          Section II of the Commissioner’s Memorandum, asserting that McKee’s Complaint fails

to state a claim upon which relief can be granted and that declaratory relief is not justified, is a

significantly shortened version of the same arguments the State of Tennessee made in its March

2022 Motion to Dismiss (Docs. 27 and 28). McKee filed a detailed response to the State’s

Motion to Dismiss,45 refuting the State’s arguments and demonstrating that both ERISA and the

Declaratory Judgment Act authorize the relief McKee is seeking. 46


42
   Lawrence Depo. at 186. See also Lawrence Depo. at 174 (confirming intent to enforce the
laws against self-insured ERISA plans “unless a court told us otherwise”). Page 174 from
Commissioner Lawrence’s deposition is attached to this Brief as Exhibit A.
43
   McKee Summary Brief at 10-13. Tellingly, ERISA plans were Public Chapter 1070’s only
addition to the list of 13 covered entities now set forth in Tenn. Code Ann. § 56-7-3102(1)(1)(A)
and likewise were the only addition to the definition of “pharmacy benefits manager” set forth in
Tenn Code Ann. § 56-7-3102(5).
44
   Id. at 11; Lawrence Depo. at 131-32, Ex. 3 at Bates 0280.
45
   See Plaintiff’s Memorandum in Opposition to Intervenor’s Motion to Dismiss (Doc. 31).
46
   This Court did not rule on the State’s previous Motion to Dismiss, finding that the State’s
motion and others were moot after the Court granted a separate Motion to Dismiss by Thrifty
Med. See Memorandum Opinion and Order (Doc. 67) at 9.


                                                9
     Case 1:21-cv-00279-CEA-MJD           Document 135         Filed 01/21/25       Page 11 of 27
                                          PageID #: 2030
        The Commissioner appears to have abandoned the State’s previous argument that the

Court lacks subject matter jurisdiction over this action but maintains that McKee’s First

Amended Complaint (Doc. 83) (“Complaint”) fails to state a claim for relief against Thrifty Med

or the Commissioner47 and also asserts that the Court should decline to exercise its jurisdiction

under the Declaratory Judgment Act. 48

        McKee’s action is authorized by ERISA, the Declaratory Judgment Act, and federal court

precedent. Section 502 of ERISA (29 U.S.C.§ 1132) identifies the persons empowered to bring a

civil action under ERISA. A fiduciary is one such person. Under Section 502(a)(3), a fiduciary

may bring a civil action for injunctive or other appropriate equitable relief to address violations

of ERISA and/or to enforce any of the provisions of ERISA or the terms of the plan.

        McKee has, of course, brought this action as the sponsor, administrator and fiduciary of

the McKee Health Plan,49 and McKee has likewise invoked the Court’s jurisdiction pursuant to

the Declaratory Judgment Act (the applicability of which is not dependent on McKee’s status as

a fiduciary).50 The United States Supreme Court has held that ERISA plan sponsors and

fiduciaries may bring actions for declaratory and injunctive relief to establish that state statutes

are preempted by ERISA. See Shaw v. Delta Air Lines, Inc.51 The Court in Shaw, noting that

the plaintiffs in that case were seeking injunctions against the enforcement of state laws they

claimed to be preempted by ERISA, stated:




47
   The Commissioner presumably is requesting dismissal of McKee’s First Amended Complaint
under Federal Rule of Civil Procedure 12(b)(6), although the Commissioner has not cited Rule
12.
48
   Commissioner’s Memorandum at 12-16.
49
   See, e.g., Complaint, ¶¶ 13, 58.
50
   See 28 U.S.C. § 2201(a), authorizing the declaration of “the rights and other legal relations of
any interested party seeking such declaration, whether or not further relief is or could be sought.”
51
   463 U.S. 85 (1983).


                                               10
     Case 1:21-cv-00279-CEA-MJD           Document 135         Filed 01/21/25      Page 12 of 27
                                          PageID #: 2031
        A plaintiff who seeks injunctive relief from state regulation, on the ground that such
        regulation is pre-empted by a federal statute which, by virtue of the Supremacy Clause of
        the Constitution, must prevail, thus presents a federal question which the federal courts
        have jurisdiction under 28 U.S.C. § 1331 to resolve . . . This Court, of course, frequently
        has resolved pre-emption disputes in a similar jurisdictional posture. 52

               1.      McKee’s Claim Against Thrifty Med

        The Commissioner acknowledges that ERISA authorizes a fiduciary like McKee to bring

suit for injunctive or other appropriate equitable relief.53 The Commissioner alleges, however,

that McKee has not stated a claim for relief against Thrifty Med because Thrifty Med is not a

plan member or beneficiary and “is therefore not subject to ERISA.” 54 Respectfully, the

Commissioner’s argument makes no sense and is contrary to Supreme Court precedent, including

Harris Trust and Savings Bank v. Salomon Smith Barney Inc.55 In Harris Trust, the Court noted

that Section 502(a)(3) “admits of no limit . . . on the universe of possible defendants” and

focuses instead on redressing the act or practice that violates any provision of ERISA. 56

Therefore, “defendant status under §502(a)(3) may arise from duties imposed by §502(a)(3)

itself, and hence does not turn on whether the defendant is expressly subject to a duty under one

of ERISA’s substantive provisions.”57

        McKee’s Complaint alleges that Thrifty Med engaged in improprieties in processing

prescriptions, overcharged the McKee Health Plan and its participants, and violated the terms of




52
   Id. at 96 n. 14 (citing cases); see also Franchise Tax Bd. of State of Cal. v. Constr. Laborers
Vacation Tr. for S. California, 463 U.S. 1, 26-27 (1983); District of Columbia v. Greater
Washington Bd. of Trade, 506 U.S. 125 (1992); Thiolkol Corp. v. Dept. of Treasury, 987 F.2d
376, 380 (6th Cir. 1993); Denny’s, Inc. v. Cake, 364 F.3d 521, 524-25 (4th Cir. 2004).
53
   Commissioner’s Memorandum at 12, citing 29 U.S.C. § 1132(a)(3) (ERISA § 502(a)(3)).
54
   Id. at 13.
55
   530 U.S. 238 (2000).
56
   Harris Trust, 530 U.S. at 246.
57
   Id. at 247 (ERISA fiduciary may bring an action under § 502(a)(3) against a nonfiduciary party
in interest that allegedly violated ERISA).


                                               11
     Case 1:21-cv-00279-CEA-MJD          Document 135        Filed 01/21/25      Page 13 of 27
                                         PageID #: 2032
the ERISA Plan.58 Thrifty Med’s actions were egregious and included overcharging for

prescriptions, forging a Plan participant’s name on prescription logs, and altering documents

submitted as part of Thrifty Med’s appeal of these findings. 59 Despite its wrongful conduct,

Thrifty Med and its owners maintained that Tennessee law required McKee to include Thrifty

Med in the Health Plan’s pharmacy network, threatened legal action against McKee, actively

lobbied for the passage of the legislation at issue in this case, and attempted to use the preempted

laws to regain admittance to the network (a violation of Section 514(a) of ERISA). 60

        McKee sought injunctive and declaratory relief to redress Thrifty Med’s misconduct and

to enforce the terms of the Plan and the provisions of ERISA (including ERISA’s preemption

provision). McKee’s action against Thrifty Med is specifically authorized by Section 502(a)(3).

McKee’s allegations against Thrifty Med state a claim upon which relief can be granted under

ERISA and under the Declaratory Judgment Act.

        Nevertheless, the Commissioner resurrects the State’s previous argument that McKee’s

claims against Thrifty Med are somehow foreclosed by the Sixth Circuit’s decision in NGS

American, Inc. v. Jefferson.61 As discussed in McKee’s Memorandum in Opposition to the

State’s Motion to Dismiss (Doc. 31 at 16-21), the facts of NGS American were nothing like

those of the instant case, and the courts have declined to apply NGS American in situations like

those presented here.

        In NGS American, a Michigan-based benefit plan was threatened with a tort action (for

medical malpractice) by the widower of a plan member who resided in Florida. The plan



58
   Complaint ¶ 31.
59
   See Declaration of Angela Sharps (Doc. 35-2) ¶¶ 8-9; Second Declaration of Angela Sharps
(Doc. 45-1) ¶¶ 5-6.
60
   Complaint ¶¶ 5, 32, 54.
61
   218 F.3d 519 (6th Cir. 2000). See Commissioner’s Brief at 13.


                                              12
     Case 1:21-cv-00279-CEA-MJD          Document 135         Filed 01/21/25     Page 14 of 27
                                         PageID #: 2033
administrator filed suit in Michigan seeking to enjoin the widower from pursing the tort action in

his home state.62 The issue in the case was whether a suit to prevent a plan beneficiary from

pursuing a state court tort action was an action to enforce ERISA preemption.63 The Court

answered this question in the negative, held that the Florida plan beneficiary was not subject to

personal jurisdiction in Michigan, and dismissed the case. The Court made clear that a Section

502(a)(3) action to enforce statutory preemption could be maintained in other circumstances but

concluded that the facts presented in the case just did not support such a claim. 64

        Cases decided after NGS American have cabined that decision to its unique facts and

procedural status. See Denny’s, Inc. v. Cake, 364 F.3d 521, 527 (4th Cir. 2004) (declining to

apply NGS American in Section 502(a)(3) action to establish that state labor code provisions

were preempted by ERISA); Sherfel v. Gassman, 748 F. Supp. 2d 776, 786 (S.D. Ohio 2010)

(NGS American was inapplicable where plaintiffs were seeking “to determine the effect of

ERISA preemption on . . . a state statute”).

        As discussed supra at 10-11, McKee’s action is authorized by ERISA and the Declaratory

Judgment Act. The Sixth Circuit and other lower courts have followed the Supreme Court’s lead

in allowing actions by plan administrators and fiduciaries seeking declaratory and injunctive

relief under Section 502(a)(3) to establish that state statutes are preempted by ERISA. See, e.g.,

Thiokol Corp. v. Dept. of Treasury, 987 F.2d 376 (6th Cir. 1993) (action by ERISA plan

fiduciaries seeking declaratory and injunctive relief that a state tax law was preempted by



62
   Not surprisingly, personal jurisdiction was a significant issue in the case. The widower argued
that the Michigan court lacked jurisdiction over him, and both the district court and the Sixth
Circuit agreed. NGS American, 218 F.3d at 521, 531.
63
   See NGS American, 218 F.3d at 525.
64
   Id. at 529, 531. “Mickey Jefferson has done nothing to violate ERISA by filing suit in Florida
state court, so NGS American’s action against him cannot be construed to enforce ERISA.” Id.
at 531.


                                              13
     Case 1:21-cv-00279-CEA-MJD          Document 135         Filed 01/21/25      Page 15 of 27
                                         PageID #: 2034
ERISA; court noted that federal courts have exclusive jurisdiction over actions for relief under

Section 502(a)(3)).

                2.      McKee’s Claim Against the Commissioner

        The Commissioner also argues that McKee has no “cause of action” against him, again

claiming that there is insufficient evidence of “ongoing” enforcement of the Tennessee laws. 65 It

is unclear whether the Commissioner is really alleging that McKee’s Complaint fails to state a

claim against the Commissioner (an argument this Court has specifically rejected) 66 or whether

the Commissioner is again arguing that the facts do not establish that enforcement of the laws is

likely. In either event, the Commissioner’s argument fails, for the reasons set forth in Section

II.A.3. of this Brief (supra at 6-9).

        C.      McKee Is Entitled to Declaratory Relief. There Is No Reason for this Court
                to Decline to Exercise Its Jurisdiction.

        The Commissioner has likewise resurrected the State’s previous argument 67 that this

Court should decline to exercise its jurisdiction under the Declaratory Judgment Act. 68 Of

course, in making this argument, the Commissioner essentially admits that this Court has

jurisdiction under the DJA, and the Commissioner asks that the Court decline to exercise the

jurisdiction it has.

        The Commissioner relies almost entirely on AmSouth Bank v. Dale69 which discussed

five factors to consider in determining whether a court should exercise its jurisdiction. 70 The

Commissioner lists the five factors but provides only a cursory analysis of each.


65
   Commissioner’s Memorandum at 13-14.
66
   Order (Doc. 82) at 13; Memorandum Opinion and Order (Doc. 115) at 5-6, 10.
67
   See Intervenor State of Tennessee’s Motion to Dismiss (Doc. 27) at 2-3; Memorandum in
Support of the State’s Motion to Dismiss (Doc. 28) at 13-15.
68
   See Commissioner’s Memorandum at 14-16.
69
   386 F.3d. 763, 785 (6th Cir. 2004).
70
   See id. at 785.


                                              14
     Case 1:21-cv-00279-CEA-MJD          Document 135         Filed 01/21/25      Page 16 of 27
                                         PageID #: 2035
        Discussing the first factor (whether a judgment would settle the controversy), the

Commissioner argues that a judgment would not “necessarily” settle the controversy between

McKee and Thrifty Med – ignoring the controversy between McKee and the Commissioner. The

principal issue in this case is whether the Tennessee statutes are preempted by ERISA. Both

Thrifty Med and the Commissioner say they are not. The statutes target ERISA plans like

McKee’s. Public Chapter 1070 was enacted for that specific purpose, and the Commissioner, the

Department and their representatives have explicitly stated that they will enforce the laws against

ERISA plans until a court tells them to stop.

        The declaration of ERISA preemption that McKee is seeking will end the controversy,

ensure that the Commissioner and the Department will not proceed with their stated intent to

violate federal law, and will prevent the Commissioner and pharmacies from infringing on the

rights of employers like McKee to structure, design and administer their self-funded plans. For

these same reasons, an application of the second Dale factor (whether a judgment would serve a

useful purpose) weighs heavily in favor of this Court’s exercise of its jurisdiction. 71

        The Commissioner goes on to provide lip service to the third, fourth and fifth Dale

factors. The Commissioner claims that the third factor (procedural fencing) “weighs heavily” in

favor of declining jurisdiction, suggesting that McKee has brought this action in a Tennessee

federal court to head off a state-court action. The Commissioner cites NGS American, a case in

which a suit was filed in Michigan against a Florida widower to prevent the widower from




71
  Here again, the Commissioner focuses solely on the dispute between McKee and Thrifty Med
and ignores the central issue in the case: ERISA’s preemption of statutes that purport to impose
substantive requirements on the design, structure and administration of self-funded ERISA plans.
The Commissioner likewise disregards the Sixth Circuit’s holding that there is a live controversy
between McKee and Thrifty Med. McKee Foods Corp. v. BFP, Inc., No. 23-5170, 2024 WL
1213808, at *1 (6th Cir. Mar. 21, 2024).


                                               15
     Case 1:21-cv-00279-CEA-MJD           Document 135         Filed 01/21/25      Page 17 of 27
                                          PageID #: 2036
proceeding in his home state. There is zero indication that McKee’s action was motivated by

such procedural gamesmanship. To the contrary, McKee is a Tennessee corporation; its plan is

administered in Tennessee; both defendants are Tennessee based; the lawsuit involves Tennessee

statutes; and the action has been filed in a Tennessee federal court where jurisdiction exists and

venue is proper. And the state courts actually would have no jurisdiction over McKee’s claims as

an ERISA plan fiduciary.72

        The fourth and fifth Dale factors likewise provide no basis for this Court to decline to

exercise its jurisdiction over this important action. There is no indication that a declaratory

judgment would increase any “friction” between federal and state courts or improperly encroach

on state jurisdiction (fourth factor), and there is no better or alternative remedy to resolve the

issue of ERISA preemption (fifth factor). As discussed above, federal courts regularly decide

ERISA preemption cases. An action in state court would certainly be no more effective than

McKee’s current action in this court, particularly since federal courts have exclusive jurisdiction

over actions under Section 502(a)(3) of ERISA.

        D.     ERISA Preempts the Tennessee Statutes.

        In Section III of his recently filed Memorandum, the Commissioner, for the first time,

addresses the issue of ERISA preemption which has been central to this litigation from the

beginning.73 The Commissioner confirms the essential principles of ERISA preemption,

acknowledging that ERISA preempts state laws that relate to any ERISA-governed benefit plan

and that a state law “relates to” an employee benefit plan if the law either has a “connection




72
   See Thiokol, 987 F.2d. at 380 (federal courts have exclusive jurisdiction over ERISA
§502(a)(3) actions).
73
   Commissioner’s Memorandum at 16-23.


                                               16
     Case 1:21-cv-00279-CEA-MJD           Document 135         Filed 01/21/25      Page 18 of 27
                                          PageID #: 2037
with” or a “reference to” such a plan. 74 Citing a case addressing a different issue,75 the

Commissioner suggests that Congress must make its intent to preempt state law “unmistakably

clear in the language of the statute” which, of course, is exactly what Congress did in Section

514(a) of ERISA.

                1.      The Tennessee laws have a connection with ERISA plans.

        Here, the Commissioner’s Memorandum goes off the rails in what can only be described

as a tortured attempt to argue that state laws specifically targeting ERISA plans – and enacted for

that very purpose – have no “connection with” the plans they regulate. The Commissioner cites

cases for points the cases do not make and tries – unsuccessfully – to shoehorn the Tennessee

statutes into Rutledge’s limited holding.

                        a.      The Commissioner misstates the law.

        According to the Commissioner, Rutledge said that “connection with” preemption plays a

“narrow role” in the regulation of entities like PBMs that interact with benefit plans. The cited

pages of Rutledge76 say no such thing and, to the contrary, confirm the principles of ERISA

preemption discussed above, including the fact that laws having a connection with ERISA plans

are preempted. The pages from Rutledge cited by the Commissioner likewise confirm that it was

Congress’s intent “‘to ensure that plans and plan sponsors would be subject to a uniform body of

benefits law,’ thereby ‘minimiz[ing] the administrative and financial burden of complying with

conflicting directives’ and ensuring that plans do not have to tailor substantive benefits to the

particularities of multiple jurisdictions.”77


74
   Commissioner’s Memorandum at 16.
75
   Will v. Michigan Dept. of State Police, 491 U.S. 58 (1989) (addressing the question of whether
a state or a state official is a “person” within the meaning of a federal civil rights statute, 42
U.S.C. § 1983).
76
   592 U.S. at 86-87.
77
   Id. at 86 (quoting Ingersoll-Rand Co. v. McClendon, 498 U.S. 133, 142 (1990)).


                                                 17
     Case 1:21-cv-00279-CEA-MJD             Document 135      Filed 01/21/25       Page 19 of 27
                                            PageID #: 2038
        Referring to Tenn. Code Ann. § 56-7-3120(b), which prohibits PBMs as well as covered

entities like McKee from offering any incentive to persuade a plan participant to utilize a

pharmacy owned by or financially beneficial to the PBM or covered entity, the Commissioner

claims, “It is well established that ‘ERISA is unconcerned’ with these types of anti-steering

laws,” citing California Div. of Lab. Standards Enf’t v. Dillingham Const., N.A., Inc. 78

Dillingham said no such thing, and the case in no way involved anti-steering laws or, for that

matter, any regulation of pharmacy benefits. Dillingham addressed a California law that required

contractors to pay their workers the prevailing wage in a project’s locale, with an exception

permitting payment of lower wages to workers participating in an approved apprenticeship

program. The issue was whether ERISA superseded the California prevailing wage law by

prohibiting payment of an apprentice wage to an apprentice trained in an unapproved program.

The Court concluded that the California law did not “relate to” employee benefit plans and

therefore was not preempted.79 Dillingham relied on the fact that prevailing wages and related

issues such as vacation pay are traditionally the subject of state regulation, are not the types of

issues that ERISA was intended to regulate, and that Department of Labor regulations

specifically exempt such payroll practices from ERISA governance. 80 In contrast to Dillingham,

this case involves direct, targeted regulation of employee benefits undisputedly governed by

ERISA.




78
   519 U.S. 316, 327 (1997).
79
   Dillingham, 519 U.S. at 319.
80
   Id. at 327-38; 29 C.F.R. §2510.3-1(b) (exempting certain payroll practices such as overtime,
sick pay, holiday premiums, and others when paid out of an employer’s general assets as part of
its payroll system).


                                               18
     Case 1:21-cv-00279-CEA-MJD           Document 135         Filed 01/21/25      Page 20 of 27
                                          PageID #: 2039
                       b.      Rutledge does not support the Commissioner’s defense of the
                               Tennessee statutes.

        Ironically, the Rutledge case upon which the Commissioner relies supports McKee’s

position in this case by making it clear that a state law is preempted if it requires benefit plans to

be structured in particular ways, such as by requiring payment of specific benefits, or if the

indirect, economic effects of the law require the plan to adopt a certain scheme of substantive

coverage.81 Addressing these considerations, the question becomes whether a state law “governs

a central matter of plan administration or interferes with nationally uniform plan

administration.”82 If the answer is yes, the law is preempted.

        McKee’s Summary Judgment Brief (Doc. 119) addresses the nature of and criteria for

ERISA preemption, discusses Rutledge and applicable cases specifically addressing ERISA

preemption of any willing provider laws, and explains why the Tennessee statutes are

preempted.83 McKee will not repeat its points but will respond to the Commissioner's arguments.

        The Commissioner relies almost entirely on Rutledge in support of his argument that laws

specifically naming and targeting ERISA plans for substantive regulation really don’t have a

“connection with” ERISA plans. Perhaps realizing this is an uphill battle, the Commissioner

attempts to shoehorn the Tennessee laws into the Rutledge analysis by placing them in “buckets”

the Commissioner believes will fit with the Supreme Court’s analysis of the Arkansas law in

Rutledge.84

        The problem for the Commissioner is that the Tennessee statutes that are actually at issue

in this case are unlike the Arkansas law that Rutledge held was not preempted. Most notably, in


81
   Rutledge 592 U.S. at 86-87.
82
   Id. at 87 (emphasis added) (citation omitted).
83
   McKee Summary Judgment Brief at 16-24.
84
   Commissioner’s Memorandum at 4-5, 17-19 (Creating and discussing “buckets” for the
Tennessee laws).


                                               19
     Case 1:21-cv-00279-CEA-MJD           Document 135         Filed 01/21/25       Page 21 of 27
                                          PageID #: 2040
stark contrast to the Tennessee statutes at issue in this case, the Arkansas law addressed in

Rutledge “does not directly regulate health benefit plans at all, ERISA or otherwise.” 85

        The Arkansas law in Rutledge86 was adopted in response to concerns that “reimbursement

rates set by PBMs were often too low to cover pharmacies’ costs,” and the Act therefore required

PBMs “to reimburse Arkansas pharmacies at a price equal to or higher than that which the

pharmacy paid to buy the drug from a wholesaler.” 87 Tennessee has a similar law, i.e., Tenn.

Code Ann. § 56-7-3206(c) which prohibits PBMs from reimbursing pharmacies for prescription

drugs or devices in “an amount that is less than the actual cost to that pharmacy for the

prescription drug or device.” 88 This statute, the Tennessee equivalent of the Arkansas law in

Rutledge, is not being challenged by McKee and is not at issue in this case.

        The Court in Rutledge concluded that the Arkansas law addressing reimbursement rates

paid by PBMs to pharmacies was merely a form of cost regulation that would have only an

indirect effect on ERISA plans with which PBMs contracted. 89 The Tennessee statues at issue in

the instant case go far beyond the Arkansas law and its Tennessee equivalent (Tenn. Code Ann. §

56-7-3206(c)). The Tennessee statutes the Commissioner puts in its “cost provisions” bucket,

particularly Tenn. Code Ann. §56-7-3120(a), restrict the contributions (copays, coinsurance, etc.)

that ERISA plans may require of plan participants. Tenn. Code Ann. § 56-7-3120(b)(2) similarly

prohibits ERISA plans from offering financial incentives such as lower copays beneficial to a




85
   Rutledge, 592 U.S. at 88-89.
86
   2015 Ark. Act 900, codified at Ark. Code Ann. § 17-92-507.
87
   Rutledge, 592 U.S. at 84.
88
   Tenn. Code Ann. § 56-7-3206(c)(1). The Tennessee law and regulations adopted by the
Department require PBMs to establish approved appeal processes under which pharmacies may
challenge PBM reimbursement decisions. Tenn. Code Ann. § 56-7-3206(c)(2); Tenn. Rules and
Regs. 0780-01-95-.03 et seq.
89
   Rutledge, 592 U.S. at 88.


                                              20
     Case 1:21-cv-00279-CEA-MJD          Document 135         Filed 01/21/25      Page 22 of 27
                                         PageID #: 2041
participant who chooses to use a company-owned pharmacy like the McKee Family Pharmacy.

Copays and coinsurance are governed by the terms of the McKee Plan itself, are benefit design

decisions that are solely within the prerogative of the plan sponsor, and unlike the Arkansas law

in Rutledge, directly impact the benefits offered to plan participants and beneficiaries. ERISA

requires that plans be administered in accordance with their terms 90 and preempts state laws that

purport to regulate plan benefit structure.91

        The Commissioner’s defense of the Tennessee laws’ any willing provider provisions 92

ignores the incontrovertible fact that the creation of provider networks (i.e., the pharmacies that

provide benefits to plan participants) is an essential part of plan design, structure and

administration. As the Sixth Circuit has held, any willing provider laws “not only affect the

benefits available by increasing the potential providers, they directly affect the administration of

the plans.”93 The Commissioner cannot dispute that the Sixth Circuit’s ruling to this effect in

Nichols or that the Tenth Circuit’s ruling in Mulready is directly applicable. Therefore, the

Commissioner makes the far-fetched claim that Nichols was abrogated by Rutledge even though

the two cases addressed different kinds of laws.94

        The Commissioner improperly cites Rutledge for the proposition that “even with Any-

Willing-Provider laws in place,” a plan can still provide a nationally uniform benefit package. 95

Any willing provider laws were not at issue in Rutledge and are nowhere mentioned in the case.




90
   29 U.S.C. § 1104(a)(1)(D).
91
   Shaw v. Delta Air Lines, Inc., 463 U.S. 85, 97 (1983); Rutledge 592 U.S. at 86-87.
92
   Commissioner’s Memorandum at 18-19, 21-23.
93
   Nichols, 227 F.3d. 352, 363 (6th Cir. 2000). See also Mulready, 78 F.4th at 1198; CIGNA
Healthplan of Louisiana v. Louisiana ex rel. Ieyoub, 82 F.3d 642, 647-48 (5th Cir. 1996); Stuart
Circle Hosp. Corp. v. Aetna Health Mgmt., 995 F.2d 500, 501-02 (4th Cir. 1993).
94
   Commissioner’s Memorandum at 21.
95
   Commissioner’s Memorandum at 22.


                                               21
     Case 1:21-cv-00279-CEA-MJD           Document 135         Filed 01/21/25      Page 23 of 27
                                          PageID #: 2042
The Commissioner likewise misquotes Pharmaceutical Care Management Association v.

Wehbi,96 suggesting incorrectly that the challenged provisions in that case required that a plan

must permit a term-abiding pharmacy to enter its network. 97 The provision of the North Dakota

law to which Wehbi was referring required that a PBM permit a pharmacy to fulfill mail orders or

dispense all drugs allowed under the pharmacy’s license. The sentence quoted by the

Commissioner did not mention networks, and the words omitted in the Commissioner’s ellipsis

were “mail orders.”98

        In Mulready, the Tenth Circuit, relying on the Sixth Circuit’s decision in Nichols and

providing a well-reasoned analysis of Rutledge, concluded that an Oklahoma any willing

provider law was preempted because network restrictions required providers to structure plans in

particular ways and that network scope and cost-sharing arrangements were key benefit designs

for an ERISA plan.99 The Commissioner can only argue that Mulready was wrongly decided and

that the Tenth Circuit gave undue weight to the Sixth Circuit’s decision in Nichols and the Fifth

Circuit’s decision in CIGNA Health Plan.

               2.       The Tennessee laws explicitly reference ERISA plans.

        The Tennessee statutes McKee says are preempted include Tenn. Code Ann. §§ 56-7-

3120 and 56-7-3121. Section 3120(b)(1) includes one of the challenged any willing pharmacy

provisions and incorporates Tennessee’s original AWP law, which McKee also challenges, by

reference.100 Sections 3120 and 3121 are both part of Tennessee Code Annotated Title 56,



96
   18 F.4th 956, 968 (8th Cir. 2021).
97
   Commissioner’s Memorandum at 22.
98
   Wehbi, 18 F.4th at 968.
99
   Mulready, 78 F. 4th at 1198.
100
    Specifically, Tenn. Code Ann. § 56-7-3120(b)(1) provides that a PBM or covered entity shall
not interfere with a patient's right to choose a pharmacy in a manner that violates Tenn. Code
Ann. § 56-7-2359.


                                              22
     Case 1:21-cv-00279-CEA-MJD          Document 135        Filed 01/21/25      Page 24 of 27
                                         PageID #: 2043
Chapter 7, Part 31 (“Part 31”). In Public Chapter 1070, the Legislature added a new section to

Part 31 which reads:

       Notwithstanding another law, this part applies to plans governed by the Employee
       Retirement Income Security Act of 1974 (ERISA) (29 U.S.C. § 1001 et seq.).101

       Public Chapter 1070 further amended existing law to add ERISA plans to the definitions

of “covered entity” and “pharmacy benefit manager” that would be subject to Part 31. 102

Although the definition of “covered entity” lists 13 types of entities, ERISA plans were the only

entity added and targeted by Public Chapter 1070.103 The undisputed facts, including the

testimony of Commissioner Lawrence and related email communications confirm that the intent

of the legislation was to specifically include ERISA plans within the coverage of the law and that

McKee’s assertion of ERISA preemption in this lawsuit was part of the equation.104

       Although it is hard to imagine more explicit “references to” ERISA plans than those

deliberately included in Part 31, the Commissioner argues that the Tennessee laws actually do

not have a reference to an ERISA plan.105 Quoting Nichols, the Commissioner argues that a

mere reference to an ERISA plan is insufficient for preemption unless the law “singl[es] them out

for different treatment.”106 Contrary to the Commissioner’s suggestion, Nichols did not say that

a law’s disparate treatment of ERISA plans was essential for “reference to” preemption. While

noting that “a mere reference to an ERISA plan, without more, may not be enough to cause



101
    Public Chapter 1070 (Copy attached as Exhibit B), Section 7 (on p. 5). The new section is
codified at Tenn. Code Ann. § 56-7-3122.
102
    Public Chapter 1070, Sections 3 and 4 (on p. 4). These sections are codified at Tenn. Code
Ann. § 56-7-3102(1) and (5).
103
    Compare definition of “covered entity” in Public Chapters 1070 with that included in the
previous law, 2007 Public Chapter 224 (copy attached as Exhibit C).
104
    See McKee Summary Judgment Brief (Doc. 119) at 10-13 (Discussing origins of Public
Chapter 1070).
105
    Commissioner’s Memorandum at 19-21.
106
    Id. at 19.


                                             23
  Case 1:21-cv-00279-CEA-MJD            Document 135        Filed 01/21/25      Page 25 of 27
                                        PageID #: 2044
preemption,” Nichols then stated that “Supreme Court precedent shows that if such a reference is

combined with some effect on those plans, such as singling them out for different treatment,

preemption will result.”107 Nichols cited Mackey v. Lanier Collection Agency & Service, Inc.108

Mackey confirmed that state laws designed to affect employee benefit plans are preempted,

stating:

           On several occasions since our decision in Shaw, we have reaffirmed this rule, concluding
           that state laws which make “reference to” ERISA plans are laws that “relate to” those
           plans within the meaning of § 514(a). In fact, we have virtually taken it for granted
           that state laws which are “specifically designed to affect employee benefit plans” are
           pre-empted under § 514(a).109

           Mackey was cited in District of Columbia v. Greater Washington Bd. of Trade110 in which

the Supreme Court held that a section of the District of Columbia’s Equity Amendment Act

“specifically refers to welfare benefit plans regulated by ERISA and on that basis alone is pre-

empted.”111 The Court added that it made no difference that the section was “part of the

District’s regulation of, and therefore also ‘relate to,’ ERISA exempt workers’ compensation

plans.”112 Disparate treatment of ERISA plans thus was not required for “reference to”

preemption.113

           We often tell jurors, “Don’t leave your common sense at the door.” The same applies

here. Laws that not only refer to ERISA plans but were created to subject them to substantive




107
    Nichols, 227 F.3d at 360 (emphasis added).
108
    486 U.S. 825 (1988).
109
    Mackey, 486 U.S. at 829 (citations omitted) (emphasis added).
110
    506 U.S. 125 (1992).
111
    Greater Washington Board of Trade, 506 U.S. at 130 (emphasis added).
112
    Id. at 131.
113
    See also FMC Corp. v. Holliday, 498 U.S. 52 (1990) (law had “reference to” ERISA when it
included both ERISA and non-ERISA programs in its scope).


                                                24
  Case 1:21-cv-00279-CEA-MJD               Document 135        Filed 01/21/25     Page 26 of 27
                                           PageID #: 2045
state regulation unquestionably reference ERISA plans and, as in Mackey, were “specifically

designed” to do so.

                                      III.      CONCLUSION

       The Commissioner’s Motion for Summary Judgment should be denied, and McKee’s

Motion for Summary Judgment should be granted.

       This the 21st day of January, 2025.

                                                       CHAMBLISS, BAHNER & STOPHEL, P.C.

                                                       By:    /s/William H. Pickering
                                                          William H. Pickering (BPR #006883)
                                                          Catherine S. Dorvil (BPR #034060)
                                                       Liberty Tower – Suite 1700
                                                       605 Chestnut Street
                                                       Chattanooga, TN 37450
                                                       Telephone: (423) 756-3000
                                                       Email: wpickering@chamblisslaw.com
                                                              cdorvil@chamblisslaw.com

                                                       OGLETREE, DEAKINS, NASH, SMOAK
                                                       & STEWART, P.C.
                                                       Mark E. Schmidtke, Admitted Pro Hac Vice
                                                       56 S. Washington Street, Suite 302
                                                       Valparaiso, IN 46383
                                                       Telephone: (219) 242-8668
                                                       Email: Mark.schmidtke@ogletree.com

                                                       Attorneys for Plaintiff

                                 CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing brief was filed electronically. Notice of this
filing will be sent by operation of the Court’s electronic filing system to all parties indicated on
the electronic filing receipt. Parties may access this filing through the Court’s electronic filing
system.

       This 21st day of January, 2025.

                                                              /s/ William H. Pickering




                                                  25
  Case 1:21-cv-00279-CEA-MJD                 Document 135      Filed 01/21/25     Page 27 of 27
                                             PageID #: 2046
